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                    IN THE UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

DEMI KOSTKA, et al.,                §
                                    §
            Plaintiffs,             §     Civil Action No. 3:20-CV-3424-K
                                    §
v.                                  §
                                    §
DICKEY’S BARBECUE                   §
RESTAURANTS, INC.,                  §
                                    §
            Defendant.              §
                                    §
                                    §
ROSS DICZHAZY, et al.,              §
                                    §
            Plaintiff,              §
                                    §     Civil Action No. 3:21-CV-1962-K
v.                                  §
                                    §
DICKEY’S BARBECUE                   §
RESTAURANTS, INC., et al.,          §
                                    §
            Defendants.             §
                                    §
                                    §
MICHAEL MARHEFKA, et al.,           §
                                    §
            Plaintiffs,             §     Civil Action No. 3:21-CV-1963-K
                                    §
v.                                  §
                                    §
DICKEY’S BARBECUE                   §
RESTAURANTS, INC., et al.,          §
                                    §
            Defendants.             §
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                          ORDER OF CONSOLIDATION

      The Court ORDERS that Case No. 3:21-CV-1962-K and 3:21-CV-1963-K, are

hereby CONSOLIDATED with 3:20-CV-3424-K. All future filings shall be filed in 3:20-

CV-3424-K.

      SO ORDERED.

      Signed September 21st, 2021.


                                     ______________________________________
                                     ED KINKEADE
                                     UNITED STATES DISTRICT JUDGE
